         Case 2:16-cv-00287-cr Document 280 Filed 07/02/20 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF VERMONT


  GARRET SITTS, et al.,

         Plaintiffs,                                   Civil Action No. 2:16-cv-00287-cr

  v.

  DAIRY FARMERS OF AMERICA, INC. and
  DAIRY MARKETING SERVICES, LLC,

         Defendants.



           DEFENDANTS DAIRY FARMERS OF AMERICA, INC. AND
                  DAIRY MARKETING SERVICES, LLC’S
       PROPOSED VERDICT FORM FOR EACH PLAINTIFF EXHIBIT INDEX

                                   LIST OF EXHIBITS

Exhibit 1:        Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                  LLC’s Proposed Verdict Form for the Plaintiff Identified as “Victor Barrick,
                  Barrick Dairy LLC”

Exhibit 2:        Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                  LLC’s Proposed Verdict Form for the Plaintiff Identified as “Logan Bower,
                  Pleasant View Farms”

Exhibit 3:        Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                  LLC’s Proposed Verdict Form for the Plaintiffs Identified as “Mark &
                  Dwight Brandenburg, Char Mar Dairy Farm, Inc.”

Exhibit 4:        Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                  LLC’s Proposed Verdict Form for the Plaintiff Identified as “Thomas Clark”

Exhibit 5:        Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                  LLC’s Proposed Verdict Form for the Plaintiff Identified as “Gerry Delong,
                  Hope Valley Farms”

Exhibit 6:        Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                  LLC’s Proposed Verdict Form for the Plaintiffs Identified as “Mark &
                  Barbara Dulkis, Dulkis Farms”
         Case 2:16-cv-00287-cr Document 280 Filed 07/02/20 Page 2 of 3




Exhibit 7:      Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                LLC’s Proposed Verdict Form for the Plaintiff Identified as “Glen Eaves,
                Oak Bluff Farms LLC”

Exhibit 8:      Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                LLC’s Proposed Verdict Form for the Plaintiff Identified as “Richard
                Gantner”

Exhibit 9:      Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                LLC’s Proposed Verdict Form for the Plaintiffs Identified as “Stefan &
                Cindy Gieger, Gieger farm”

Exhibit 10:     Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                LLC’s Proposed Verdict Form for the Plaintiffs Identified as “Scott & Gail
                Hymers, Sco Gail Farm”

Exhibit 11:     Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                LLC’s Proposed Verdict Form for the Plaintiffs Identified as “Randy &
                Lynette Inman, Marbil Farms”

Exhibit 12:     Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                LLC’s Proposed Verdict Form for the Plaintiffs Identified as “John & Frank
                Lamport, Lamport Farms”

Exhibit 13:     Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                LLC’s Proposed Verdict Form for the Plaintiffs Identified as “Russell &
                Diane Maxwell”

Exhibit 14:     Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                LLC’s Proposed Verdict Form for the Plaintiff Identified as “Walt Moore,
                Walmoore Holsteins, Inc.”

Exhibit 15:     Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                LLC’s Proposed Verdict Form for the Plaintiff Identified as “Michael
                Nissley”

Exhibit 16:     Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                LLC’s Proposed Verdict Form for the Plaintiffs Identified as “Calvin Roes,
                Lloyd Roes & Sons LLC”

Exhibit 17:     Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                LLC’s Proposed Verdict Form for the Plaintiff Identified as “Bradley
                Rohrer”

Exhibit 18:     Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                LLC’s Proposed Verdict Form for the Plaintiffs Identified as “Donald T. &
                Donald M. Smith”

                                           2
         Case 2:16-cv-00287-cr Document 280 Filed 07/02/20 Page 3 of 3




Exhibit 19:     Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                LLC’s Proposed Verdict Form for the Plaintiffs Identified as “Judy & Ken
                Tompkins”

Exhibit 20:     Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services,
                LLC’s Proposed Verdict Form for the Plaintiffs Identified as “Mark & Eric
                Visser, Visser Brothers Farm”




                                           3
